Case 21-03010-sgj        Doc 150   Filed 03/14/24 Entered 03/14/24 08:11:20          Desc Main
                                   Document     Page 1 of 4



                          UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 In re:                                         §
                                                §
                                                                  Chapter 11
 HIGHLAND CAPITAL MANAGEMENT,                   §
 L.P.                                           §
                                                           Case No. 19-34054-sgj11
                                                §
           Debtor.                              §
                                                §
 HIGHLAND CAPITAL MANAGEMENT,                   §
 L.P.,                                          §
                                                §
           Plaintiff,                           §
                                                §
 v.                                             §            Adv. No. 21-03010-sgj
                                                §
 HIGHLAND CAPITAL MANAGEMENT                    §
 FUND ADVISORS, L.P. and NEXPOINT               §
 ADVISORS, L.P.,                                §
                                                §
           Defendants.                          §

      STIPULATION AND AGREED ORDER EXTENDING STAY OF JUDGMENT

                                    I.     STIPULATION

          NexPoint Advisors, L.P. (“NexPoint”) and Highland Capital Management Fund Advisors,

L.P. n/k/a NexPoint Asset Management, L.P. (“HCMFA,” together with NexPoint, the “Judgment

Debtors”), hereby stipulate and agree as follows with Highland Capital Management, L.P. (the

“Judgment Creditor”):

          WHEREAS, on September 14, 2022, the Court, in the above styled and numbered

Adversary Proceeding (the “Adversary Proceeding”), entered that certain Judgment at Docket No.

126 (the “Judgment”) against the Judgment Debtors and in favor of the Judgment Creditor;

          WHEREAS, on October 11, 2022, the Court entered that certain Agreed Order

Conditionally Staying Judgment Pending Appeal at Docket No. 141 (the “Stay Order”);




STIPULATION AND AGREED ORDER EXTENDING STAY OF JUDGMENT—Page 1
Case 21-03010-sgj      Doc 150     Filed 03/14/24 Entered 03/14/24 08:11:20            Desc Main
                                   Document     Page 2 of 4



       WHEREAS, the Stay Order provided for a conditional stay pending appeal of the Judgment

provided that the Judgment Debtors posted certain security, or deposited funds into the Registry

of the Court, by October 7, 2022: as to NexPoint, in the amount of $898,464.00, and as to HCMFA,

in the amount of $1,878,217.60;

       WHEREAS, on October 7, 2022, NexPoint filed that certain Supersedeas Bond, Bond No.

SU 1188705 issued by Arch Insurance Company, to secure the Judgment in the amount of

$898,464.00, filed at Docket No. 139 (the “NexPoint Bond”), and on the same day HCMFA filed

that certain Supersedeas Bond, Bond No. SU 1188704 issued by Arch Insurance Company, to

secure the Judgment in the amount of $1,878,217.60, filed at Docket No. 140 (the “HCFMA

Bond”), and the Clerk received the originals of the NexPoint Bond and the HCMFA Bond on

October 13, 2022 as noted at Docket Nos. 142 and 143;

       WHEREAS, upon the filing of the NexPoint Bond and the HCMFA Bond, the collection

and execution of the Judgment was stayed to the extent provided for in the Stay Order (the “Stay”);

       WHEREAS, the Stay Order provides that the Stay shall terminate on March 15, 2024,

unless the Judgment Debtors provide additional security by way of bond or cash deposit to extend

the Stay past March 14, 2024;

       WHEREAS, NexPoint represents that it has obtained an Increase Rider increasing the

NexPoint Bond to $927,696.00 (the “NexPoint Rider”), and HCMFA represents that it has

obtained an Increase Rider increasing the HCMFA Bond to $1,939,326.40 (the “HCMFA Rider”);

       WHEREAS, the Judgment Creditor agrees that, upon filing of the NexPoint Rider, the Stay

shall continue through March 14, 2025 as to NexPoint, and that, upon filing of the HCMFA Rider,

the Stay shall continue through March 14, 2025 as to HCMFA.

                                         II.    ORDER




STIPULATION AND AGREED ORDER EXTENDING STAY OF JUDGMENT—Page 2
Case 21-03010-sgj       Doc 150    Filed 03/14/24 Entered 03/14/24 08:11:20             Desc Main
                                   Document     Page 3 of 4



       Having considered the above Stipulation, incorporating its definitions into this Order, and

finding the Stipulation appropriate and lawful, it is hereby:

       ORDERED that, provided that NexPoint files the executed NexPoint Rider on the docket

of this Adversary Proceeding on or before March 14, 2024, the Stay shall continue through March

14, 2025 as to NexPoint; it is further

       ORDERED that, provided that HCMFA files the executed HCMFA Rider on the docket of

this Adversary Proceeding on or before March 14, 2024, the Stay shall continue through March

14, 2025 as to HCMFA; it is further

       ORDERED that the Judgment Debtors shall, promptly after receipt of the NexPoint Rider

and the HCMFA Rider, deposit the originals of the same with the Clerk of the Court; it is further

       ORDERED that the Stay, as so extended through March 14, 2025, shall nevertheless and

in all events terminate sooner and immediately: (i) if no appeal of the Judgment is filed appealing

the District Court’s mandate affirming the Judgment to the United States Court of Appeals for the

Fifth Circuit by the deadline for so doing, then fourteen (14) days after such deadline expires; and

(ii) if such an appeal is timely filed with the United States Court of Appeals for the Fifth Circuit

and that court issues a mandate affirming the Judgment prior to March 14, 2025, then the date on

which such court issues said mandate; it is further

       ORDERED that the Court shall retain jurisdiction to the maximum extent possible over

this Order, including enforce the Judgment through all collection and other proceedings upon the

expiration of the Stay, and to compel any surety on a supersedeas bond to pay such bond to the

Judgment Creditor, including through the NexPoint Bond, the NexPoint Rider, the HCMFA Bond,

and the HCMFA Rider.

                                  # # # END OF ORDER # # #




STIPULATION AND AGREED ORDER EXTENDING STAY OF JUDGMENT—Page 3
Case 21-03010-sgj                Doc 150   Filed 03/14/24 Entered 03/14/24 08:11:20    Desc Main
                                           Document     Page 4 of 4



AGREED:

 MUNSCH HARDT KOPF & HARR, P.C.                        PACHULSKI STANG ZIEHL & JONES
                                                       LLP
 By: /s/ Davor Rukavina
 Davor Rukavina, Esq.                                  By: /s/ John A. Morris (w/ permission)
 Texas Bar No. 24030781                                Jeffrey N. Pomerantz (CA Bar No. 143717)
 Julian P. Vasek, Esq.                                 John A. Morris (NY Bar No. 2405397)
 Texas Bar No. 24070790
                                                       Gregory V. Demo (NY Bar No. 5371992)
 4000 Ross Tower
 500 N. Akard Street                                   Hayley R. Winograd (NY Bar No. 5612569)
 Dallas, Texas 75202-2790                              10100 Santa Monica Blvd., 13th Floor
 Telephone: (214) 855-7500                             Los Angeles, CA 90067
 Facsimile: (214) 978-4375                             Telephone: (310) 277-6910
 drukavina@munsch.com                                  Facsimile: (310) 201-0760
 jvasek@munsch.com                                     Email: jpomerantz@pszjlaw.com
                                                               jmorris@pszjlaw.com
 ATTORNEYS FOR NEXPOINT                                        gdemo@pszjlaw.com
 ADVISORS, L.P. AND HIGHLAND                                   hwinograd@pszjlaw.com
 CAPITAL MANAGEMENT FUND
 ADVISORS, L.P.                                        ATTORNEYS FOR HIGHLAND
                                                       CAPITAL MANAGEMENT, L.P.




STIPULATION AND AGREED ORDER EXTENDING STAY OF JUDGMENT—Page 4
4855-2052-1133v.1 019717.00001
